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          EXHIBIT A
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                       UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

PNC BANK, N.A.,                 §
                                §
     Plaintiff,                 §
                                §
v.                              §
                                §                  Civil Action No. 1:17-cv-01081
RENE O. CAMPOS; 2013 TRAVIS OAK §
CREEK DEVELOPER, INC.; CHULA    §
INVESTMENTS, LTD.; AND EUREKA §
MULTIFAMILY GROUP, L.P.,        §
                                §
     Defendants.                §

                 INDEX OF DOCUMENTS FILED IN STATE COURT


DATE                DOCUMENT                                            EXHIBIT

11/14/2017   Plaintiff’s Original Petition and Request for Disclosure      A




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                                                                                11/14/2017 9:52 AM
                                                                                                  Velva L. Price
                                                                                                 District Clerk
                                                 D-1-GN-17-006241                                Travis County
                                                                                              D-1-GN-17-006241
                                CAUSE NO. _________________                                  Victoria Benavides
PNC BANK, N.A.,                                     §               IN THE DISTRICT COURT
                                                    §
        Plaintiff,                                  §
                                                    §
v.                                                  §
                                                    §
                                                                 201st
                                                                   ____ JUDICIAL DISTRICT
RENE O. CAMPOS; 2013 TRAVIS OAK CREEK               §
DEVELOPER, INC.; CHULA INVESTMENTS,                 §
LTD.; and EUREKA MULTIFAMILY GROUP,                 §
L.P.,                                               §
                                                    §
        Defendants.                                 §                TRAVIS COUNTY, TEXAS


               PNC BANK, N.A.’S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE


        Plaintiff PNC Bank, N.A. (“PNC”) files this Original Petition and Request for Disclosure

and would respectfully show the following:

                                     I.         DISCOVERY PLAN

        1.       Pursuant to Texas Rule of Civil Procedure 190.1, PNC intends for discovery to be

conducted herein under Level 2.

                                          II.      PARTIES

        2.       Plaintiff PNC Bank, N.A. is a federally chartered bank with its principal place of

business in Pittsburgh, Pennsylvania. It can be served with papers in this matter through its counsel

of record.

        3.       Defendant Rene O. Campos (“Campos”) is a Texas citizen and resident. He can be

served with process at his home, located at 3637 Binkley Avenue, Dallas, Texas 75205, or

wherever he may be found.

        4.       Defendant 2013 Travis Oak Creek Developer, Inc. (“Developer”) is a Texas

corporation with its principal place of business in Dallas, Texas. It can be served with process


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through its registered agent for service of process, 2001 Agency Corporation, 14160 Dallas

Parkway, Suite 800, Dallas, Texas 75254.

         5.       Defendant Chula Investments, Ltd. (“Chula”) is a Texas limited partnership. Its

sole general partner is Chula Management, LLC, a Texas limited liability company. On

information and belief, all the limited partners in Chula and all the members in its general partner

are Texas citizens and/or residents. Chula can be served with process through its registered agent

for service of process, 2001 Agency Corporation, 14160 Dallas Parkway, Suite 800, Dallas, Texas

75254.

         6.       Eureka Multifamily Group, L.P. (“Eureka”) is a Texas limited partnership. Its sole

general partner is Eureka Multifamily Group GP, Inc., a Texas corporation. Its sole limited partner

is Rene O. Campos, Jr., an individual residing in Dallas County, Texas. Eureka can be served with

process through its registered agent for service of process, 2001 Agency Corporation, 14160 Dallas

Parkway, Suite 800, Dallas, Texas 75254.

                   III.   JURISDICTION, VENUE, AND AMOUNT IN CONTROVERSY

         7.       The Court has subject matter jurisdiction over this matter because the amount in

controversy exceeds the minimum jurisdictional limits of this Court. The Court has personal

jurisdiction over the Defendants because they either live or conduct business in Texas.

         8.       Venue is proper in this Court under Section 15.020 of the Texas Civil Practice and

Remedies Code because this is an action arising from a “major transaction,” and Defendants agreed

in writing that a suit arising from the transaction may be brought in Travis County, Texas.

Alternatively, venue is proper in this Court under Section 15.002(a)(1) of the Texas Civil Practice

and Remedies Code because Travis County, Texas is the county in which all or a substantial part

of the events or omissions giving rise to the claim occurred.

         9.       PNC seeks monetary relief of over $1,000,000.00. See Tex. R. Civ. P. 47(c).

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                                                    IV.      FACTS

           10.      2013 Travis Oak Creek, LP (“Borrower”) was created to develop, construct,

operate, maintain, and manage an apartment complex in Austin, Texas that is known as the Lucero

Apartments (“Property”).

           11.      Borrower financed the construction of the Property with a $26 million loan

(“Construction Loan”) made by J.P. Morgan Chase Bank, N.A. (“Chase”).

           12.      The Construction Loan was secured by, among other things, a guaranty of payment

and completion (“Guaranty”) signed by four guarantors: Campos, Developer, Chula, and Eureka

(collectively, “Guarantors” or “Defendants”). Per the Guaranty, the Guarantors guaranteed to

the Lender, 1 jointly and severally, absolutely, irrevocably, and unconditionally the payment of the

Debt. 2 The Guaranty is a guaranty of payment and not of collection, and the Guarantors waived

any right to require that any action be brought against the Borrower or any other person or party

or to require that resort be had to any security or to any balance of any deposit account or credit

on the books of the Lender in favor of the Borrower or any other person or party. 3



1
 Per Section 11 of the Guaranty, references to Lender “shall be deemed to include its successors and assigns,” i.e.,
PNC.
2
  Defined in the Guaranty as “all liabilities of the Borrower to the Lender of whatever nature, whether now existing or
hereafter incurred, whether created directly or acquired by the Lender, by assignment or otherwise, whether matured
or unmatured and whether absolute or contingent, any principal, interest, additional interest (including specifically all
interest accruing from and after the commencement of any case, proceeding or action under any existing or future
laws relating to bankruptcy, insolvency or similar matters with respect to the Borrower) and other sums of any nature
whatsoever which may be due or shall become due and payable pursuant to the provisions of the Note, the Mortgage,
the Loan Agreement or any other document or instrument now or hereafter executed that governs, secures and/or
evidences the Loan (said Note, Mortgage, Loan Agreement and such other documents and instructions, collectively,
the “Loan Documents”) and any agreement executed by Borrower with respect to any swap, forward, future or
derivative transaction or option or similar agreement involving, or settled by reference to, on or more rates, currencies,
commodities, equity or debt instruments or securities, or economic, financial or pricing indexes or measures of
economic, financial or pricing risk or value or any similar transaction or any combination of these transactions (all of
the above unaffected by modification thereof in any bankruptcy or insolvency proceeding), and even though the
Lender may not have allowed a claim for the same against the Borrower as a result of any bankruptcy or insolvency
proceeding.”
3
    See § 10 of the Guaranty.

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        13.      Borrower failed to repay the Construction Loan on its maturity date, May 23, 2017.

On June 2, 2017, Chase sent Borrower and Guarantors a Notice of Default of the Construction

Loan. On June 28, 2017, Chase applied $834,144.46 that was in a pledged account of Borrower

against the principal balance of the Construction Loan.

        14.      Borrower is still in default of the Construction Loan. Per the Guaranty, an event of

default under the Construction Loan constitutes an event of default of the Guaranty. Thus,

Guarantors are in default of the Guaranty.

        15.      On October 3, 2017, Chase and PNC entered into a Sale and Assignment

Agreement (“Sale Agreement”).

        16.      On October 12, 2017, Chase entered into an Assignment of Deed of Trust and Other

Loan Documents (“General Assignment”), whereby Chase assigned to PNC all of Chase’s right,

title, and interest in, to, and under the following:

        a.       Credit Support and Funding Agreement, dated May 23, 2014, between
                 2013 Travis Oak Creek, L.P. and JPMorgan Chase Bank, N.A.;

        b.       Advance     Promissory     Note,  dated  May    23,   2014,     between
                 2013 Travis Oak Creek, L.P. and JPMorgan Chase Bank, N.A.in the original
                 principal amount of $26,000,000;

        c.       Construction Deed of Trust, Absolute Assignment of Rents, Security Agreement
                 and Financing Statement, dated May 23, 2014, by 2013 Travis Oak Creek, L.P. to
                 Jacqueline P Yardley, of Cook County, Illinois, as Trustee, for the benefit of
                 JPMorgan Chase Bank, N.A., recorded at Recording No. 2014075497 on May 27,
                 2014, in the Real Property Records of Travis County, Texas;

        d.       Environmental Indemnity Agreement, dated May 23, 2014, between 2013 Travis
                 Oak Creek, L.P. and JPMorgan Chase Bank, N.A.;

        e.       Guaranty of Payment and Completion, dated May 23, 2014, be Rene O. Campos,
                 2013 Travis Creek Developer, Inc., Chula Investments, Ltd., and Eureka
                 Multifamily Group, LP for the benefit of JPMorgan Chase Bank, N.A.;

        f.       Loan Policy of Title Insurance No. CTGS29-82913000800A issued by Chicago
                 Title Insurance Company, dated May 23, 2014;

        g.       Payment and Performance Bonds, dated May 23, 2014;

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        h.       Modification Agreement (with Amendment to Credit Support and Funding
                 Agreement), dated April 20, 2016, between 2013 Travis Oak Creek, L.P. and
                 JPMorgan Chase Bank, N.A.;

        i.       Modification Agreement (with Amendment to Credit Support and Funding
                 Agreement), dated November 23, 2016, between 2013 Travis Oak Creek, L.P. and
                 JPMorgan Chase Bank, N.A.;

        j.       Tri-Party Agreement, dated May 23, 2014 among 2013 Travis Oak Creek, L.P.,
                 JPMorgan Chase Bank, N.A., and PNC Bank, National Association;

        k.       Liquidity Maintenance Agreement, dated May 23, 2014, by 2013 Travis Creek
                 Developer, Inc., Eureka Multifamily Group, LP, Chula Investments, Ltd., and Rene
                 O. Campos, and JPMorgan Chase Bank, N.A.;

        l.       UCC Financing Statement, filed with the Texas Secretary of State on June 1, 2014,
                 as filing no. 14-0017272761;

        m.       UCC Financing Statement, filed with the Travis County Clerk on May 23, 2014, as
                 filing no. 2014074970;

        n.       Subordination Agreement, dated May 23, 2014, by and among Austin Housing
                 Finance Corporation, JPMorgan Chase Bank, N.A., and 2013 Travis Oak Creek,
                 LP;

        o.       Subordination Agreement, dated May 23, 2014, by and among 2013 Travis Oak
                 Creek, LP, JP Morgan Chase Bank, N.A., and 2013 Travis Oak Creek, GP, LP;

        p.       Intercreditor and Subordination Agreement, dated May 23, 2014, by and among
                 JPMorgan Chase Bank, N.A., 2007 Travis Heights, LP, and 2013 Travis Oak Creek,
                 LP;

        q.       Developer Fee Subordination Agreement, dated May 23, 2014, by and among 2013
                 Travis Oak Creek, LP, 2013 Travis Oak Creek Developer, Inc., and JPMorgan
                 Chase Bank, N.A.;

        r.       Assignment of Management Agreement and Consent and Subordination of
                 Manager, dated as of May 23, 2014, by 2013 Travis Oak Creek, LP and Eureka
                 Multi-family Group, LP, for the benefit of JPMorgan Chase Bank, N.A.;

        s.       Assignment of Accounts, dated May 23, 2014, by Travis Oak Creek, LP to
                 JPMorgan Chase Bank, N.A.;

        t.       Partnership Certificate and Consent of Partners-Eureka Multi-Family Group, LP;

        u.       Partnership Certificate and Consent of Partners-Chula Investments, Ltd.; and




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        v.       “All other documents, instruments and agreements evidencing, securing or
                 otherwise governing the terms of the loan provided for in the Loan Agreements and
                 secured by Deed of Trust. . . .”

        17.      On October 12, 2017, Chase also entered into an Allonge (“Allonge”) regarding

the Advance Promissory Note, in the original principal amount of $26,000,000.00, dated May 23,

2014, executed by Borrower, and originally payable to Chase.

        18.      On October 12, 2017, Chase also entered into an Assignment of Deed of Trust

(“Assignment of Deed of Trust”), whereby it assigned all of its right, title, and interest in, under,

and to that certain Construction Deed of Trust, Absolute Assignment of Rents, Security Agreement

and Financing Statement made by Borrower, to Jacqueline P. Yardley as Trustee for the benefit of

Chase (“Deed of Trust”).

                                     V.     CAUSES OF ACTION

                     (Count 1: Breach of Guaranty against All Defendants)

        19.      The foregoing paragraphs are incorporated by reference as if set forth fully herein.

        20.      The Guaranty is a valid and enforceable contract between the PNC and Guarantors.

        21.      Per the Guaranty, Guarantors guaranteed to PNC, jointly and severally, absolutely,

irrevocably, and unconditionally the payment of Borrower’s Debt.

        22.      Borrower is in default of the Construction Loan. Despite written notice of

Borrower’s default of the Construction Loan, Guarantors have failed to pay and satisfy Borrower’s

obligations under the Construction Loan. Moreover, per the Guaranty, an event of default under

the Construction Loan constitutes an event of default of the Guaranty. Thus, Guarantors are in

default of the Guaranty.

        23.      Guarantors’ breaches of the Guaranty have proximately caused PNC actual and

special damages.




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        24.      PNC was forced to retain counsel to enforce the Guaranty and collect the sums due.

As such, PNC is entitled, under the Guaranty and Section 38.001 of the Texas Civil Practice and

Remedies Code, to recover its reasonable and necessary attorney’s fees.

                                VI.     REQUEST FOR DISCLOSURE

        25.      Defendants are requested to disclose the information described in Rule 194.2 of the

Texas Rules of Civil Procedure within 50 days of service of this request.

                                          VII.    PRAYER

        Wherefore, premises considered, PNC respectfully prays that the Court:

        a.       Cause the Defendants to be cited to appear;

        b.       Award PNC all of its damages, including actual and special damages;

        c.       Award PNC all of its pre-judgment and post-judgment interest;

        d.       Award PNC its reasonable and necessary attorney’s fees;

        e.       Award PNC all costs of court; and

        f.       Grant PNC such further relief to which it may be entitled.


Date: November 13, 2017                           Respectfully submitted,

                                                  /s/ Jon G. Shepherd
                                                  Jon G. Shepherd
                                                  Texas State Bar No. 00788402
                                                  jon.shepherd@hklaw.com
                                                  Nicholas A.F. Sarokhanian
                                                  Texas State Bar No. 24075020
                                                  nicholas.sarokhanian@hklaw.com
                                                  HOLLAND & KNIGHT LLP

                                                  200 Crescent Court, Suite 1600
                                                  Dallas, Texas 75201
                                                  (214) 964-9500
                                                  (214) 964-9501 (facsimile)

                                                  ATTORNEYS FOR PLAINTIFF
                                                  PNC BANK, N.A.


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                                                               CIVIL CASE INFORMATION SHEET
           CAUSE NUMBER (FOR CLERK USE ONLY): _______________________________ COURT (FOR CLERK USE ONLY): ______________________

                                                                 PNC Bank, M.A. v. Rene O. Campos, et al.
                                                    STYLED ________________________________________________
                                 (e.g., John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter of the Estate of George Jackson)

A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
the time of filing. This sheet, approved by the Texas Judicial Council, is intended to collect information that will be used for statistical purposes only. It neither replaces
nor supplements the filings or service of pleading or other documents as required by law or rule. The sheet does not constitute a discovery request, response, or
supplementation, and it is not admissible at trial.
1. Contact information for person completing case information sheet:                  Names of parties in case:                              Person or entity completing sheet is:
                                                                                                                                           x Attorney for Plaintiff/Petitioner
Name:                                     Email:                                      Plaintiff(s)/Petitioner(s):                             Pro Se Plaintiff/Petitioner
                                                                                       PNC Bank, N.A.                                         Title IV-D Agency
Jon G. Shepherd                            jon.shepherd@hklaw.com                                                                             Other: _________________________
Address:                                  Telephone:
200 Crescent Ct., Suite 1600              (214) 964-9433                              Defendant(s)/Respondent(s):
                                                                                                                                          Additional Parties in Child Support Case:
City/State/Zip:                           Fax:                                        Rene O. Campos; 2013 Travis Oak Custodial Parent:
 Dallas, Texas 75201                      (214) 964-9501                              Creek Developer, Inc.; Chula
                                                                                      Investments, Ltd.; Eureka                                 Non-Custodial Parent:
Signature:                                State Bar No:
                                                                                      Multifamily Group, LP
_____________________________             00788402                                    [Attach additional page as necessary to list all parties] Presumed Father:

2. Indicate case type, or identify the most important issue in the case (select only 1):
                                                   Civil                                                                                       Family Law
                                                                                                                                                            Post-judgment Actions
          Contract                        Injury or Damage                          Real Property                    Marriage Relationship                     (non-Title IV-D)
Debt/Contract                         Assault/Battery                           Eminent Domain/                       Annulment                             Enforcement
     Consumer/DTPA                    Construction                              Condemnation                          Declare Marriage Void                 Modification—Custody
  X Debt/Contract                     Defamation                                Partition                           Divorce                                 Modification—Other
     Fraud/Misrepresentation        Malpractice                                 Quiet Title                              With Children                            Title IV-D
     Other Debt/Contract:               Accounting                              Trespass to Try Title                    No Children                        Enforcement/Modification
     ____________________               Legal                                   Other Property:                                                             Paternity
Foreclosure                             Medical                                  ____________________                                                       Reciprocals (UIFSA)
     Home Equity—Expedited              Other Professional                                                                                                  Support Order
     Other Foreclosure                   Liability:                              Related to Criminal
  Franchise                              _______________                               Matters                          Other Family Law                  Parent-Child Relationship
  Insurance                           Motor Vehicle Accident                    Expunction                              Enforce Foreign                     Adoption/Adoption with
  Landlord/Tenant                     Premises                                  Judgment Nisi                           Judgment                            Termination
  Non-Competition                   Product Liability                           Non-Disclosure                          Habeas Corpus                       Child Protection
  Partnership                           Asbestos/Silica                         Seizure/Forfeiture                      Name Change                         Child Support
  Other Contract:                       Other Product Liability                 Writ of Habeas Corpus—                  Protective Order                    Custody or Visitation
   ______________________                List Product:                          Pre-indictment                          Removal of Disabilities             Gestational Parenting
                                         _________________                      Other: _______________                  of Minority                         Grandparent Access
                                      Other Injury or Damage:                                                           Other:                              Parentage/Paternity
                                        _________________                                                               __________________                  Termination of Parental
        Employment                                                Other Civil                                                                              Rights
                                                                                                                                                            Other Parent-Child:
  Discrimination                        Administrative Appeal                Lawyer Discipline                                                               _____________________
  Retaliation                           Antitrust/Unfair                     Perpetuate Testimony
  Termination                           Competition                          Securities/Stock
  Workers’ Compensation                 Code Violations                      Tortious Interference
  Other Employment:                     Foreign Judgment                     Other: _______________
   ______________________               Intellectual Property

              Tax                                                                             Probate & Mental Health
    Tax Appraisal                    Probate/Wills/Intestate Administration                                     Guardianship—Adult
    Tax Delinquency                       Dependent Administration                                              Guardianship—Minor
    Other Tax                            Independent Administration                                            Mental Health
                                          Other Estate Proceedings                                            Other: ____________________

3. Indicate procedure or remedy, if applicable (may select more than 1):
    Appeal from Municipal or Justice Court                 Declaratory Judgment                                                  Prejudgment Remedy
    Arbitration-related                                    Garnishment                                                           Protective Order
    Attachment                                             Interpleader                                                          Receiver
    Bill of Review                                         License                                                               Sequestration
    Certiorari                                             Mandamus                                                              Temporary Restraining Order/Injunction
    Class Action                                           Post-judgment                                                         Turnover
